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    COX COMMUNICATIONS CAL., LLC,
  8 AND COX COMMUNICATIONS, INC.
  9
                                 UNITED STATES DISTRICT COURT
 10
                               CENTRAL DISTRICT OF CALIFORNIA
 11
 12
    CHRISTONE FELTZS, on behalf of             Case No. 8:19 cv 02002
 13 himself and others similarly situated
                                               DEFENDANTS’ NOTICE OF
 14                           Plaintiff,       REMOVAL OF ACTION
                                               PURSUANT TO 28 U.S.C §§ 1332,
 15 v.                                         1441 AND 1446 (CLASS ACTION
                                               FAIRNESS ACT OF 2005)
 16 COX COMMUNICATIONS CAL.,
    LLC, a Delaware Limited Liability
 17 Company; COX ENTERPRISES, INC.,
    a Delaware Corporation; COX                [Orange County Case No.
 18 COMMUNICATIONS, INC., a                    30-2019-01086069-CU-OE-CXC]
    Delaware Corporations; and DOES 1
 19 through 100, inclusive,                    Complaint Filed: July 26, 2019
 20                     Defendants.
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  1 TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
  2 DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND HIS COUNSEL
  3 OF RECORD:
  4            PLEASE TAKE NOTICE that, Defendants Cox Communications
  5 California, LLC and Cox Communications, Inc. (collectively, “Defendants”),1
  6 hereby remove the above-entitled action from the Superior Court of the State of
  7 California in and for the County of Orange, to the United States District Court for
  8 the Central District of California. This Court has original subject matter jurisdiction
  9 over Plaintiff’s lawsuit under the Class Action Fairness Act of 2005 (“CAFA”), 28
 10 U.S.C §§ 1332(d)(2) and 1453, because minimum diversity exists and the amount in
 11 controversy exceeds $5 million. Accordingly, removal is proper based on the
 12 following grounds:
 13                                          BACKGROUND
 14            1.       On or about July 26, 2019, Plaintiff Christone Feltzs (“Plaintiff”),
 15 individually and on behalf of all others purportedly similarly situated, filed a
 16 Complaint against Defendants in the Superior Court of the State of California,
 17 County of Orange, Case No. 30-2019-01086069-CU-OE-CXC (the “Complaint”).
 18 The Complaint asserted class claims for relief against Defendants arising out of
 19 Plaintiff’s employment with Defendant Cox Communications California, LLC
 20 (“Cox California”). Specifically, Plaintiff asserted class claims for Cox California’s
 21 alleged (1) failure to pay wages as a result of “illegal rounding;” (2) failure to
 22 provide meal periods; (3) failure to pay all wages due at separation; (4) failure to
 23 provide accurate wage statements; and (5) unfair competition. Plaintiff asserted his
 24 class claims on behalf of himself and all other technicians who worked in California
 25 “providing installation and maintenance services” (referred to herein as Universal
 26   1
           Plaintiff was employed by Cox Communications California, LLC and no
 27 other entity. For purposes of this removal, however, the distinction between the
 28 various defendant entities is irrelevant.

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  1 Home Technicians or “UHTs”) from July 26, 2015 to the present. Plaintiff made no
  2 specific allegations in the Complaint of the amount in controversy or even the size
  3 of the putative class (other than generically asserting that the class includes “over 50
  4 people”).2 A true and correct copy of the original Complaint is attached hereto as
  5 Exhibit “A.”
  6            2.       On August 21, 2019, Defendants accepted service of the Complaint by
  7 executing notices of acknowledgement of receipt (one for each entity). A true and
  8 correct copy of those notices of acknowledgement of receipt are attached hereto as
  9 Exhibit “B.”
 10            3.       On October 16, 2019, before Defendants responded to the Complaint,
 11 Plaintiff filed a First Amended Complaint to add additional derivative penalty
 12 claims under the California Labor Code Private Attorneys General Act (“PAGA”).
 13 Plaintiff filed the First Amended Complaint after waiting the statutory 65 days
 14 following his electronic submission to the state Labor Workforce and Development
 15 Agency of a letter setting forth the underlying basis of the PAGA claims. A true
 16 and correct copy of the First Amended Complaint is attached hereto as Exhibit “C.”
 17            4.       On October 18, 2019, Defendants answered the First Amended
 18 Complaint, by filing a general denial in the Orange County Superior Court. 3 A true
 19 and correct copy of the Answer to the First Amended Complaint is attached hereto
 20 as Exhibit “D.” Exhibit “A” through “D” represent all pleadings and process filed
 21 in this action through the date of removal.
 22
               2
 23                     First Amended Complaint ¶ 43.
               3
 24                The caption of the Complaint and First Amended Complaint also name
      Cox Enterprises, Inc. (“CEI”) as a defendant, but Plaintiff has not served CEI.
 25   Multiple district courts throughout the United States (including the Eastern and
 26   Southern Districts of California) have recognized that CEI is merely the parent of
      Cox Communications, Inc. and is not the employer of its direct or indirect
 27   subsidiaries’ employees. Those same courts also found that California lacked
 28   personal jurisdiction over CEI.

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  1                           MINIMUM DIVERSITY EXISTS UNDER CAFA
  2            5.       The Court has original jurisdiction of this action under the Class Action
  3 Fairness Act of 2005 (“CAFA”), codified in relevant part in 28 U.S.C. § 1332(d)(2).
  4 Specifically, this action is removable, pursuant to the provisions of 28 U.S.C.
  5 §1441(a), as the amount in controversy exceeds $5 million, exclusive of interest and
  6 costs, and is a class action in which at least one class member is a citizen of a state
  7 different from that of at least one defendant.
  8            6.       To satisfy CAFA’s diversity requirement, a party seeking removal need
  9 only show that minimal diversity exists – i.e., that one putative class member is a
 10 citizen of a different state from that of one defendant. 28 U.S.C. § 1332(d)(2); see
 11 also United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv.
 12 Workers Int’l Union, AFL-CIO, CLC v. Shell Oil Co., 602 F.3d 1087, 1090-91 (9th
 13 Cir. 2010) (finding that to achieve its purposes, CAFA provides expanded original
 14 diversity jurisdiction for class actions meeting the minimal diversity requirement).
 15 Not only does minimal diversity exist, but complete diversity of citizenship exists
 16 because Plaintiff is a citizen of California while Defendants are citizens of Georgia
 17 and Delaware.4
 18            7.       Plaintiff Christone Feltzs is, and at all times relevant to this action was,
 19 a resident of California. He worked for Cox California in Foothill Ranch, California
 20 and, at the time the lawsuit was filed, he was working for Dish Network in
 21 Riverside, California. He resides in California, has a California drivers’ license, is
 22 registered to vote in California, and pays income taxes in California. Residence is
 23 prima facie evidence of domicile. See State Farm Mut. Auto. Ins. Co. v. Dyer, 19
 24
 25
               4
 26             Although its citizenship is irrelevant to removal, unserved defendant
    Cox Enterprises, Inc. is also a citizen of Delaware and Georgia, so considering it
 27 would not defeat diversity jurisdiction in any event. Specifically, CEI is
 28 incorporated in Delaware with its principal place of business in Atlanta, Georgia.

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  1 F.3d 514, 520 (10th Cir. 1994). In sum, Plaintiff qualifies under CAFA as a citizen
  2 of California.
  3            8.       For diversity purposes, a limited liability company is a citizen of “every
  4 state of which its owners/members are citizens.” Johnson v. Columbia Properties
  5 Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). Its members are viewed under
  6 the same analyses as for any other entity, such that a corporation is deemed to be a
  7 citizen of the state in which it has been incorporated and the state where it has its
  8 principal place of business. See 28 U.S.C. § 1332(c)(1). A corporation’s “‘principal
  9 place of business’ refers to the place where the corporation’s high level officers
 10 direct, control, and coordinate the corporation’s activities,” i.e., the corporation’s
 11 “nerve center.” Hertz Corp. v. Friend, 130 S. Ct. 1181, 1186 (2010). The relevant
 12 considerations under the “nerve center” test include the following: (a) where the
 13 directors and stockholders meet; (b) where the executives live and have their offices;
 14 (c) where the administrative and financial offices are located and the records kept;
 15 (d) where the corporate income tax return is filed; (e) where the “home office” is
 16 located; and (f) where day-to-day control of the business is exercised. Unger v. Del
 17 E. Webb Corp., 233 F. Supp. 713, 716 (N.D. Cal. 1964).
 18            9.       The proper defendant here, Cox California, is not a citizen of
 19 California. Cox California is a limited liability company organized under the laws
 20 of Delaware. Its sole member is Cox Communications, Inc. Cox Communications,
 21 Inc. is incorporated in Delaware, with its principal place of business located in
 22 Georgia. Cox Communications, Inc.’s corporate headquarters, located in Atlanta,
 23 Georgia, is the actual center of direction, control and coordination of all major
 24 human resources, payroll, legal and administrative functions. The respective
 25 officers for these departments work in Atlanta, Georgia and are responsible for
 26 developing policies and protocols for Cox Communications, Inc.’s nationwide
 27 operations. As such, Cox Communications, Inc.’s corporate headquarters and nerve
 28 center were, at the time of filing of the state court action, and remain to date, located

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  1 in Atlanta, Georgia. Accordingly, because Cox Communications, Inc. is a citizen of
  2 Delaware and Georgia and Cox Communications California, LLC is also a citizen of
  3 these states and not California.
  4            10.      Doe Defendants: Pursuant to 28 U.S.C. Section 1441(a), the residence
  5 of fictitious and unknown defendants should be disregarded for purposes of
  6 establishing removal jurisdiction under 28 U.S.C. Section 1332. Fristos v. Reynolds
  7 Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980) (unnamed defendants are not
  8 required to join in a removal petition). Thus, the existence of Doe defendants 1
  9 through 100, inclusive, does not deprive this Court of jurisdiction.
 10 DEFENDANTS’ REMOVAL IS TIMELY AS DEFENDANTS HAVE NEVER
     BEEN PRESENTED WITH A PLEADING OR OTHER PAPER THAT HAS
 11            AFFIRMATIVELY REVEALED THAT THE AMOUNT IN
                          CONTROVERSY EXCEEDS $5,000,000
 12
           11. 28 U.S.C. Section 1446(b) provides two separate triggers for CAFA’s
 13
    30-day deadline for removal. Section 1446(b)(1) requires the notice of removal to
 14
    be filed 30 days after the defendant receives the initial pleading, but Section
 15
    1446(b)(3) provides that “if the case stated by the initial pleading is not removable”
 16
    the defendant can remove within 30 days after receipt of “a copy of an amended
 17
    pleading, motion, order or other paper from which it may first be ascertained that
 18
    the case is one which is or has become removable.” If a plaintiff’s complaint,
 19
    pleadings, or other papers served on or received by a defendant do not affirmatively
 20
    reveal on their face that the amount in controversy exceeds $5,000,000, Section
 21
    1446(b)’s two separate 30-day removal periods never begin to run, and a defendant
 22
    in a CAFA case may remove the case “at any time.” Kuxhausen v. BMW Fin.
 23
    Services NA LLC, 707 F.3d 1136, 1139 (9th Cir. 2013); see also Roth v. CHA
 24
    Hollywood Med. Ctr., LP, 720 F.3d 1121, 1125-26 (9th Cir. 2013) (“A CAFA case
 25
    may be removed at any time, provided that neither of the two thirty-day periods
 26
    under § 1446(b)(1) and (b)(3) has been triggered.”) (citations omitted) (emphasis
 27
    added); Harris v. Bankers Life & Cas. Co., 425 F.3d 689, 694 (9th Cir. 2005)
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  1 (holding that for either 30-day period to be triggered, the ground for removal must
  2 be shown in “the four corners of the applicable pleadings” or “from the face of the
  3 document”).
  4            12.      Further, this “bright-line” requirement makes clear that the defendant
  5 has no obligation to investigate or develop additional information as to
  6 removability: “[N]otice of removability under § 1446(b) is determined through
  7 examination of the four corners of the applicable pleadings, not through subjective
  8 knowledge or a duty to make further inquiry” by the defendant. Harris, 425 F.3d at
  9 694; see also Kuxhausen, 707 F.3d at 1141 (“[The defendant] was not obligated to
 10 supply information which [the plaintiff] had omitted.”); Roth, 720 F.3d at 1125
 11 (“even if a defendant could have discovered grounds for removability through
 12 investigation, it does not lose the right to remove because it did not conduct such an
 13 investigation”). In other words, only a pleading or other paper served on or received
 14 by the defendant may trigger either 30-day period, not the defendant’s own
 15 knowledge of jurisdictional information. See Kuxhausen, 707 F.3d at 1141 n. 3 (“It
 16 bears repeating that whether a defendant can establish that federal jurisdiction exists
 17 and the question of when the thirty-day time period begins are not two sides of the
 18 same question.”); see also Vigil v. Waste Connections, Inc., 2015 WL 627877, *2
 19 (E.D. Cal. Feb. 11, 2015) (despite the fact that defendant already knew the
 20 jurisdictional fact that the parties were diverse, removal was timely when filed
 21 within 30 days of plaintiffs’ discovery response stating their citizenship,
 22 “[r]egardless of when [defendant] learned the parties were diverse”).
 23            13.      The Ninth Circuit recognized in Roth that the unlimited removal time
 24 available to defendants in some CAFA cases means that “defendants may
 25 sometimes be able to delay filing a notice of removal until it is strategically
 26 advantageous to do so.” Id. at 1126 (explaining that “plaintiffs are in a position to
 27 protect themselves” from such a risk simply by making their pleadings sufficiently
 28 definite).

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  1            14.      Here, as set forth above, Plaintiff has never presented a pleading or
  2 other papers affirmatively revealing that the amount in controversy exceeds
  3 $5,000,000. Rather, as explained below Defendants have determined the amount in
  4 controversy as a result of Cox California’s own investigation of its payroll and
  5 timekeeping records during the relevant period. Accordingly, Defendants’ removal
  6 is timely notwithstanding that it is happening more than 30 days after service of the
  7 original complaint.
  8                  AMOUNT IN CONTROVERSY EXCEEDS $5 MILLION
  9            19.      Pursuant to CAFA, the amount in controversy is satisfied when the
 10 aggregated claims of the individual members in a class action exceed the sum of $5
 11 million. See 28 U.S.C. § 1332(d)(6). Without making any admission of liability or
 12 damages with respect to any aspect of this case, or to the proper legal test(s)
 13 applicable to Plaintiff’s claims, the alleged amount in controversy in this class
 14 action exceeds, in the aggregate, $5,000,000. This conclusion is based on the
 15 known information set forth in the paragraphs below. The Ninth Circuit recently
 16 reaffirmed that, in considering amount in controversy, the Court may rely upon
 17 plausible assumptions consistent with the pleading in the operative complaint in
 18 calculating the amount in controversy. See Arias v. Residence Inn by Marriott, 963
 19 F.3d 920, 927 (9th Cir. 2019) (reversing remand order and finding that defendant
 20 had satisfied amount in controversy requirement through reasonable assumptions:
 21 “assumptions made as part of the defendant’s chain of reasoning need not be
 22 proven; they instead must only have ‘some reasonable ground underlying them.’”). 5
 23
 24
 25            5
                 There is no requirement at the removal stage to attach evidence to the
 26 petition support the factual allegations in the removal. Rather, removal is governed
    by Rule 8 requiring only a “short and plain statement of the grounds for
 27 removal.” Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547,553
 28 (2014).

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  1                     a.    The proposed class. Plaintiff worked for Cox as a Universal
  2 Home Technician or “UHT” from approximately February 2018 to December 2018.
  3 Although the proposed class definition is arguably broader than just California
  4 UHTs, for purposes of defining the class, Cox will operate on the assumption that
  5 the class is limited to the 520 individuals who it has identified from its timekeeping
  6 records as having held during the class period the job title of UHT (or a variation on
  7 UHT) that Plaintiff held.6
  8                     b.    Wages Arising From Alleged Illegal Rounding
  9            Plaintiff asserts that Cox had an unlawful rounding policy that, in
 10 combination with an attendance policy, caused members of the putative class to be
 11 “systematically underpaid each pay period during the relevant time period.” (First
 12 Amended Complaint ¶¶ 59-60). Plaintiff further contends the putative class is
 13 entitled to recover the unpaid wages plus an equal amount as liquidated damages
 14 (First Amended Complaint ¶¶ 59, 61). Through September 13, 2019, Cox
 15 California’s records reflect that UHTs worked a total of 244,309 workdays during
 16 the period relevant to the unpaid wages claim. Assuming conservatively that the
 17 rounding of UHTs’ time led to employees being systematically underpaid by two
 18 minutes per workday, that would translate into an underpayment of 8,142 hours for
 19 the period. The average UHT compensation during this period was $31.68. At that
 20 rate, the potential damages would be $257,938 plus an equal amount in liquidated
 21 damages for a total of $515,876.
 22                     c.    Premium Pay for Failure to Provide Meal Periods. Plaintiff’s
 23 meal period claim asserts that the UHTs in the proposed class were never provided
 24 meal periods when they worked more than 10 hours in a workday. More
 25 specifically, Plaintiff asserts that putative class members “consistently worked over
 26            6
                 These 520 individuals constitute a putative class that is large enough to
 27 satisfy the minimum class size requirement under CAFA. 28 U.S.C. §
 28 1332(d)(5)(B) (minimum class size of 100 for CAFA removal).

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   1 ten (10) hour shifts without a second meal period due to Defendants’ policy of
   2 discouraging, dissuading and/or impeding Plaintiff and the Class members from
   3 taking a meal period.” 7 (emphasis added). Timekeeping records reveal that the
   4 putative class worked a total of 165,633 workdays where a UHT recorded in excess
   5 of 10hours in a single day, with the average wage of employees on these shifts of
   6 $31.95. Assuming these shifts all triggered premium pay for failure to provide a
   7 second meal period, as Plaintiff alleges in the First Amended Complaint, total
   8 damages would be $5,291,974. 8
   9                     d.    Waiting Time Penalties Arising From Unpaid Wages. Labor
  10 Code section 203 provides that if an employer willfully fails to pay wages to a
  11 terminated employee, “the wages of the employee shall continue as a penalty from
  12 the due date thereof at the same rate until paid or until an action therefor is
  13 commenced; but the wages shall not continue for more than 30 days.” Cal. Labor
  14 Code § 203(a). Plaintiff asserts that all class members were systematically
  15 underpaid wages as a result of unlawful rounding, which would entitle all former
  16 employees whose employment terminated on or after September 26, 2016 to 30 days
  17 of waiting time penalties measured at either 8 or 10 hours per day if Plaintiff proved
  18 his allegation that the underpayment was willful. See Mamika v. Barca, 68 Cal.
  19 App. 4th 487 (1998) (“day’s pay” under Section 203 takes into account typical hours
  20 employee worked in a day multiplied by the hourly rate). A total of 57 UHTs
  21 terminated their employment on or after September 26, 2016, with the average wage
  22 of those individuals $27.00 at the time of termination. If a conservative assumption
  23 of an 8-hour workday is assumed, each former UHT would be entitled to 240 hours
  24 of pay as a waiting time penalty, which translates into $369,360.
  25
                7
                         First Amended Complaint ¶ 63.
  26            8
                   Although the caption of the complaint states that Plaintiff is asserting a
  27 claim for failure to provide rest periods, no rest period claim is actually pleaded in
  28 the body of the complaint.

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   1                     e.    Wage Statement Penalties. Labor Code section 226(e) allows
   2 an employee who received an inaccurate itemized wage statement to recover $50 for
   3 an initial violation, and $100 for each subsequent violations, up to a maximum of
   4 $4,000 per employee. As a penalty claim, the statute of limitations on a Section
   5 226(e) claim is one year. Cal. Code Civ. Proc. § 340(a). Plaintiff contends that the
   6 putative class was underpaid each pay period as a result of unlawful rounding,
   7 which would render all of their wage statements inaccurate. The putative class
   8 worked a total of 12,574 pay periods during the one-year limitations period for a
   9 Section 226(e) claim. Assuming all violations were knowing and intentional as
  10 Plaintiff alleges, each UHT’s first defective wage statement would generate a $50
  11 penalty and all subsequent ones would generate a $100 penalty. Taken together, the
  12 total wage statement penalties would be $1,235,650.
  13                     f.    Attorneys’ Fees. Lastly, although potential damages and
  14 penalties amount to significantly more than $5 million standing alone on the unpaid
  15 wages, liquidated damages, wage statement, and waiting time penalties claims, the
  16 Complaint also alleges that class members are entitled to recover attorneys’ fees.
  17 Recent Ninth Circuit authority has clarified that, in evaluating amount in
  18 controversy, the calculation must include all attorney’s fees likely to be incurred
  19 through trial of an action. See Fritsch v. Swift Transp. Co. of Arizona, 899 F.3d
  20 785, 794 (9th Cir. 2018); Arias, 936 F.3d at 927-28 (noting that it was error for court
  21 to refuse to consider likely attorney’s fees through trial in evaluating CAFA amount
  22 in controversy). Attorney’s fees are typically set at 25% of the gross recovery in a
  23 wage/hour class action, although they can be higher if justified by a lodestar
  24 calculation of reasonable hourly rate times the amount of reasonable hours
  25 expended. Fritsch, 899 F.3d at 796, n. 6 (noting that 25% value, while not
  26 dispositive in every case, is the usual benchmark). To be conservative, setting fees
  27 at 25% of the recovery in items (a) through (e) above would yield a total of
  28 $1,853,215 in attorney’s fees.

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   1            20.      Adding up the above damages, penalties, and attorney’s fee figures
   2 from above yields a total amount in controversy well in excess of $9.2 million using
   3 conservative, plausible estimates that are properly used to determine amount in
   4 controversy for purposes of CAFA. See Arias, 936 F.3d 920; Ibarra v. Manheim
   5 Investments, Inc., 775 F.3d 1193, 1197-99 (9th Cir. 2015) (amount in controversy is
   6 based on reasonable assumptions supported by evidence). And this value does not
   7 even include potential additional civil penalties that could arise under the derivative
   8 PAGA claims. Accordingly, Cox has easily established the amount in controversy
   9 requirement here.
  10            21.      Because minimum diversity of citizenship exists and because the
  11 amount in controversy exceeds $5 million dollars, this Court has original
  12 jurisdiction of the action pursuant to 28 U.S.C. § 1332(d)(6). This action is
  13 therefore a proper one for removal to this Court.
  14                                              VENUE
  15            22.      Venue lies in the Central District of California pursuant to 28 U.S.C.
  16 Section 1441, 1446(a), and 84(c)(2). This action originally was brought in the
  17 Superior Court of the State of California, County of Orange, and Plaintiff worked at
  18 a Cox California location in Foothill Ranch, Orange County, California.
  19                                     NOTICE OF REMOVAL
  20            23.      This Notice of Removal will be promptly served on Plaintiff and filed
  21 with the Clerk of the Superior Court of the State of California in and for the County
  22 of Orange.
  23            24.      In compliance with 28 U.S.C. § 1446(a), true and correct copies of all
  24 process and pleadings from the state court action served on Defendants or filed by
  25 Defendants are attached hereto as the following exhibits, including the Complaint
  26 (Exhibit A), the Notices of Acknowledgment of Receipt (Exhibit B), the First
  27 Amended Complaint (Exhibit C), and the Answer (Exhibit D).
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   1            WHEREFORE, Defendants request that the above action pending before the
   2 Superior Court of the State of California for the County of Orange be removed to
   3 the United States District Court for the Central District of California.
   4 Dated: October 21, 2019
   5
                                     SHEPPARD, MULLIN, RICHTER & HAMPTON
   6
   7
                                     By               /s Thomas R. Kaufman
   8                                                THOMAS R. KAUFMAN
   9                                                 Attorneys for Defendants
                                             COX COMMUNICATIONS CALIFORNIA,
  10                                         LLC and COX COMMUNICATIONS, INC.

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